
93 N.Y.2d 882 (1999)
In the Matter of MARK GREEN, as Public Advocate for the City of New York, Respondent,
v.
HOWARD SAFIR, as Commissioner of the New York City Police Department, et al., Appellants.
Court of Appeals of the State of New York.
Submitted February 8, 1999.
Decided April 1, 1999.
Motion by the Commissioner of the New York City Police Department for leave to appeal denied. Motion by Corporation Counsel of the City of New York, as a party, for leave to appeal dismissed upon the ground that as to the Corporation Counsel of the City of New York the order sought to be appealed from does not finally determine the proceeding within the meaning of the Constitution.
